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                                             1 JEDEDIAH WAKEFIELD (CSB No. 178058)
                                               jwakefield@fenwick.com
                                             2 MATTHEW B. BECKER (CSB No. 291865)
                                               mbecker@fenwick.com
                                             3 FENWICK & WEST LLP
                                               555 California Street, 12th Floor
                                             4 San Francisco, CA 94104
                                               Telephone: 415.875.2300
                                             5 Facsimile: 415.281.1350
                                             6 ANNASARA G. PURCELL (CSB No. 295512)
                                               apurcell@fenwick.com
                                             7 FENWICK & WEST LLP
                                               1191 Second Avenue, 10th Floor
                                             8 Seattle, WA 98101
                                               Telephone: 206.389.4510
                                             9 Facsimile: 206.389.4511
                                            10 ARMEN NERCESSIAN (CSB No. 284906)
                                               anercessian@fenwick.com
                                            11 FENWICK & WEST LLP
                                               801 California Street
                                            12 Mountain View, CA 94041
F ENWICK & W EST LLP




                                               Telephone: 650.988.8500
                                            13 Facsimile: 650.938.5200
                       ATTORNEYS AT LAW




                                            14 Attorneys for Defendant
                                               AUDIBLE, INC.
                                            15
                                            16                         UNITED STATES DISTRICT COURT
                                            17                        CENTRAL DISTRICT OF CALIFORNIA
                                            18                       (WESTERN DIVISION – LOS ANGELES)
                                            19
                                            20 GRANT MCKEE and SETH BEALS,                Case No.: 2:17-cv-01941 GW(Ex)
                                               individually and on behalf of all others
                                            21 similarly situated,                        [PROPOSED] ORDER PARTIALLY
                                                                                          TRANSFERRING CLAIMS OF
                                            22                   Plaintiffs,              PLAINTIFFS TAYLOR FISSE AND
                                                                                          BRYAN REES TO THE EASTERN
                                            23           v.                               DISTRICT OF NORTH CAROLINA
                                            24 AUDIBLE, INC.,                             Date:      April 19, 2018
                                                                                          Time:      8:30 AM
                                            25                   Defendant.               Crtm:      9D
                                                                                          Judge:     George H. Wu
                                            26                                            Trial Date:NONE SET
                                            27
                                            28
                                                  ORDER GRANTING MTN TO
                                                  TRANSFER VENUE                                Case No. 2:17-cv-1941 GW(Ex)
                                                 FW/10095558.2
                                          Case 2:17-cv-01941-GW-E Document 108-1 Filed 05/03/18 Page 2 of 2 Page ID #:2485



                                             1         On March 12, 2018, the Court issued a tentative ruling granting Defendant
                                             2 Audible’s Motion to Dismiss the Second Amended Complaint as to Plaintiffs
                                             3 Taylor Fisse and Bryan Rees for Lack of Personal Jurisdiction. See Dkt No. 87
                                             4 (minute entry attaching ruling on motion to dismiss); Dkt. No. 70 (Audible’s
                                             5 Motion to Dismiss). The parties subsequently informed the Court that in light of
                                             6 the Court’s ruling, they would stipulate to the transfer of Fisse’s and Rees’s claims
                                             7 to the Eastern District of North Carolina to avoid the inefficiency of dismissal and
                                             8 re-filing, subject to Defendant’s reservation of the right to raise any jurisdictional or
                                             9 venue defenses that may exist. For the reasons stated in the Court’s Tentative
                                            10 Ruling on Defendant’s Motion to Dismiss (Dkt. No. 87), and consistent with the
                                            11 parties’ stipulation preserving venue and jurisdictional defenses, the claims of
                                            12 Plaintiffs Taylor Fisse and Bryan Rees are hereby TRANSFERRED to the United
F ENWICK & W EST LLP




                                            13 States District Court for the Eastern District of North Carolina.
                       ATTORNEYS AT LAW




                                            14         IT IS SO ORDERED.
                                            15
                                            16 Dated:                                   , 2018
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                                                                                                 The Honorable George H. Wu
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                                                  ORDER GRANTING MTN TO
                                                  TRANSFER VENUE                           2        Case No. 2:17-cv-1941 GW(Ex)
